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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA                               12/13/2019
                                     CHARLOTTESVILLE DIVISION

    ELIZABETH SINES, et al.,
                                                      CASE NO. 3:17-cv-00072
                                     Plaintiffs,

                          v.                           ORDER

    JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.



         This Court has scheduled a second civil contempt hearing concerning Defendant Elliott

  Kline, which has been and remains set for Monday, December 16, 2019 at 11:00 A.M. EST,

  at the United States Courthouse in Charlottesville, Virginia.

         This Court is in receipt of a request by Kline dated today, December 13, 2019, asking that

  the Court either postpone the hearing on December 16, 2019 or allow him to make a telephonic

  appearance. Kline made a similar 11th-hour request before the hearing in which this Court found

  Kline to be in civil contempt.

         The hearing on December 16, 2019 has been scheduled for weeks. This Court advised

  Kline of the hearing on November 25, 2019 and again in the Court’s Order Finding Kline in Civil

  Contempt on November 27, 2019. See Dkt. 600 at 80; Dkt. 599 at 2. Given the nature and stage of

  the civil contempt proceedings and considering Kline’s request, the Court finds that Kline has not

  shown good cause to delay the hearing on December 16 or to permit him to appear telephonically.

         It is so ORDERED.
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         The Clerk of the Court is directed to send a certified copy of this Order to the parties. The

  Clerk of the Court is further directed to send a certified copy of this Order to Elliott Kline at both

  email addresses he has provided as well as by mail to his address of record.

         Entered this 13th      day of December, 2019.
